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                      IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


FRED ABDELHAQ,                                 )   CASE NO. 1:15 CV 35
                                               )
                      Plaintiff,               )
                                               )
       v.                                      )   MAGISTRATE JUDGE
                                               )   WILLIAM H. BAUGHMAN, JR.
THE CITY OF LAKEWOOD et al.,                   )
                                               )
                      Defendants.              )
                                               )   MEMORANDUM OPINION AND
                                               )   ORDER


                                        Introduction

       Before me,1 in this federal question matter wherein Fred Abdelhaq asserts that Alan

Benno and the City of Lakewood violated several federal and state provisions2 during the

citation and prosecution of Abdelhaq, are cross-motions for full or partial summary

judgment.3 The court has jurisdiction over federal claims under 28 U.S.C. § 1331, with

discretionary supplemental jurisdiction over related state law claims under 28 U.S.C. § 1367.

The relevant parties have responded in opposition to the various summary judgment




       1
        The parties have consented to my jurisdiction, ECF # 7 and the matter has been transferred
to me, ECF # 9.
       2
        ECF # 1 (complaint); ECF # 47 (first amended complaint); ECF # 51 (second amended
complaint).
       3
          ECF # 54 (defendants’ motion for summary judgment); ECF # 55 (Adbelhaq’s motion for
partial summary judgment).
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motions,4 and replies have been filed to the responses.5 For the reasons that follow, the

defendants’ motion for summary judgment will be granted, and Abdelhaq’s motion for

summary judgment will be denied in full.

                                           Facts

       The necessary, undisputed facts will be briefly stated here, with relevant facts being

discussed further in the analysis.

       On September 9, 2013, Abdelhaq arrived at the location where his sister, Samira

Zeitoun, had her vehicle breakdown.6 Officer Beno, had responded to a report of the broken

down car, which was located on a busy exit ramp on Interstate 90.7 Zeitoun called Abdelhaq

and her other sister and had notified the insurance company, who were to send a tow truck.8

After approximately 15 minutes of waiting, Beno called the police department’s contracted

tow truck company, Kufner Towing.9

       Abdelhaq asked Beno for permission to speak with the tow truck operator in order to




       4
        ECF # 61 (defendants’ opposition to motion for partial summary judgment); ECF # 62
(Abdelhaq’s opposition to motion for summary judgment).
       5
        ECF # 64 (Abdelhaq’s reply in favor of motion for partial summary judgment); ECF # 65
(defendants’ reply in favor of motion for summary judgment).
       6
           ECF # 54 at 9; ECF # 55 at 5.
       7
           Id.
       8
           Id.
       9
           Id.

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attempt to arrange a private tow.10 Beno acquiesced, and Abdelhaq spoke to the tow truck

driver, but the conversation turned into an argument,11 which continued during several back

and forth encounters.12 Abdelhaq then took out his cellphone in order to videotape the

situation.13 The tow truck operator made an obscene gesture towards Abdelhaq during the

course of the argument.14

       When Kufner Towing–which had been called by Beno–arrived, Zeitoun’s sister’s van

was parked in front of Zeitoun’s car.15 Officer Beno asked Abdelhaq to have the sister move

her car.16 Abdelhaq promptly had the car moved.17 Zeitoun became unruly during the course

of the incident, and three officers successfully restrained her after a brief altercation.18

During this altercation, Beno and Abdelhaq were engaged in a conversation, the nature of

which is disputed by both parties.19 During this continued altercation, Officer Beno




       10
            ECF # 54 at 10; ECF # 55 at 5.
       11
            Id.
       12
            ECF # 54 at 10; ECF # 55 at 6.
       13
            Id.
       14
            Id.
       15
            Id.
       16
            Id.
       17
            ECF # 54 at 11; ECF # 55 at 6.
       18
            ECF # 54 at 13; ECF # 55 at 8.
       19
            Id.

                                             3
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instructed Abdelhaq not to leave.20 Beno asked Abdelhaq if he had any weapons on his

person, which Abdelhaq responded affirmatively to, indicating he had a knife used for his

job.21 Beno then searched Abdelhaq.22           Beno cited, but did not arrest, Abdelhaq for

obstruction of justice and confiscated his phone to preserve the video for evidence.23

                                        Procedural History

       Abdelhaq was convicted of obstruction of official business by a jury in the Lakewood

Municipal Court.24 The court of appeals later overturned his conviction.25

       Adbelhaq filed suit in State Court which the defendants’ removed into this court.26

Abdelhaq presents a variety of federal claims under 42 U.S.C. § 1983 and various state law

claims.27 The complaint was amended twice, resulting in the following claims:

                  Count One:            §1983 claim premised on an alleged violation of
                                        Plaintiff's First Amendment Right to film police
                                        officers against Officer Beno and the City of
                                        Lakewood;

                  Count Two:            §1983 claim premised on alleged retaliation in


       20
            Id. at 12; ECF # 55 at 8.
       21
            ECF # 54 at 12; ECF # 55 at 10.
       22
            Id.
       23
            ECF # 54 at 13; ECF # 55 at 10.
       24
            ECF # 54 at 13; ECF # 55 at 11.
       25
            Id.
       26
            ECF # 1.
       27
            ECF # 51 (second amended complaint).

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                                 violation of the First Amendment by Officer Beno
                                 and the City of Lakewood;

                 Count Three:    §1983 claim alleging a violation of Plaintiff's
                                 Fourth Amendment right to be free from
                                 unreasonable search and seizure against Officer
                                 Beno and the City of Lakewood;

                 Count Four:     §1983 claim alleging a violation of Plaintiff's
                                 Fourteenth Amendment right to equal protection
                                 against Officer Beno and the City of Lakewood;

                 Count Five:     §1983 Monell claim against City of Lakewood;

                 Count Six:      state law claim for False Arrest against Officer
                                 Beno;

                 Count Seven:    §1983 claim for False Arrest against Officer
                                 Beno;

                 Count Eight:    state law claim for Malicious Prosecution against
                                 Officer Beno and the City of Lakewood;

                 Count Nine:     §1983 claim for Malicious Prosecution against
                                 Officer Beno and the City of Lakewood;

                 Count Ten:      state law claim for False Imprisonment against
                                 Officer Beno; and;

                 Count Eleven:   state law claim for Battery against Officer Beno.28


      The defendants’ filed a motion for summary judgment,29 and the plaintiffs filed a

motion for partial summary judgment.30 The plaintiffs motion was for summary judgment on

      28
           Id.
      29
           ECF # 54.
      30
           ECF # 55.

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all claims except for claim seven.31 Each filed an opposition to the other’s motion. 32 Each

party filed a response to the opposition.33

                                              Analysis

A.     Standard of review

       Summary judgment is appropriate where the court is satisfied “that there is no genuine

issue as to any material fact and that the moving party is entitled to a judgment as a matter

of law.”34 The burden of showing the absence of any such “genuine issue” rests with the

moving party:

       [A] party seeking summary judgment always bears the initial responsibility of
       informing the district court of the basis for its motion, and identifying those
       portions of ‘the pleadings, depositions answers to interrogatories, and
       admissions on file, together with affidavits, if any,’ which it believes
       demonstrates the absence of a genuine issue of material fact.35

A fact is “material” only if its resolution will affect the outcome of the lawsuit.36

Determination of whether a factual issue is “genuine” requires consideration of the applicable

evidentiary standards.37 The court will view the summary judgment motion “in the light most



       31
            Id.
       32
            ECF # 61; ECF # 62.
       33
            ECF # 64; ECF # 65.
       34
            Fed. R. Civ. P. 56(c).
       35
            Celotex v. Catrett, 477 U.S. 317, 323 (1986) (citing Fed. R. Civ. P. 56(c)).
       36
            Anderson v. Liberty Lobby, 477 U.S. 242, 248 (1986).
       37
            Id. at 252.

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favorable to the party opposing the motion.”38

        Summary judgment should be granted if a party who bears the burden of proof at trial

does not establish an essential element of his case.39 Accordingly, “[t]he mere existence of

a scintilla of evidence in support of the plaintiff’s position will be insufficient; there must be

evidence on which the jury could reasonably find for the plaintiff.”40 Moreover, if the

evidence presented is “merely colorable” and not “significantly probative,” the court may

decide the legal issue and grant summary judgment.41 In most civil cases involving summary

judgment, the court must decide “whether reasonable jurors could find by a preponderance

of the evidence that the [non-moving party] is entitled to a verdict.”42 However, if the

non-moving party faces a heightened burden of proof, such as clear and convincing evidence,

it must show that it can produce evidence which, if believed, will meet the higher standard.43

       Once the moving party has satisfied its burden of proof, the burden then shifts to the

nonmover.44 The nonmoving party may not simply rely on its pleadings, but must “produce




       38
            U.S. v. Diebold, Inc., 369 U.S. 654, 655 (1962).
       39
            McDonald v. Petree, 409 F.3d 724, 727 (6th Cir.2005) (citing Celotex, 477 U.S. at 322).
       40
            Leadbetter v. Gilley, 385 F.3d 683, 689 (6th Cir.2004) (quoting Anderson, 477 U.S. at
248-49).
       41
            Anderson, 477 U.S. at 249-50 (citation omitted).
       42
            Id. at 252.
       43
            March v. Levine., 249 F.3d 462, 471 (6th Cir.2001).
       44
            Anderson, 477 U.S. at 256.

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evidence that results in a conflict of material fact to be solved by a jury.”45 The text of

Fed. R. Civ. P. 56(e) states:

       When a motion for summary judgment is made and supported as provided in
       this rule, an adverse party may not rest upon the mere allegations or denials of
       his pleading, but his response, by affidavits or as otherwise provided in this
       rule, must set forth specific facts showing that there is a genuine issue for trial.

“In other words, the movant can challenge the opposing party to ‘put up or shut up’ on a

critical issue.”46

       Though parties must produce evidence in support of and in opposition to a motion for

summary judgment, not all types of evidence are permissible. The Sixth Circuit has

concurred that “‘it is well settled that only admissible evidence may be considered by the trial

court in ruling on a motion for summary judgment.’”47 Rule 56(e) also has certain, more

specific requirements:

       [it] requires that affidavits used for summary judgment purposes be made on
       the basis of personal knowledge, set forth admissible evidence, and show that
       the affiant is competent to testify. Rule 56(e) further requires the party to
       attach sworn or certified copies to all documents referred to in the affidavit.
       Furthermore, hearsay evidence cannot be considered on a motion for summary
       judgment.48

However, the district court may consider evidence not meeting this standard unless the



       45
            Cox v. Kentucky Dept. of Transp., 53 F.3d 146, 149 (6th Cir.1995).
       46
            BDT Products, Inc. V. Lexmark Int’l Inc., 124 Fed.Appx. 329, 331 (6th Cir. 2005).
       47
          Wiley v. United States, 20 F.3d 222 (6th Cir.1994) (quoting Beyene v. Coleman Sec. Servs.,
Inc., 854 F.2d 1179, 1181 (9th Cir.1988)).
       48
            Id. at 225-26 (citations omitted).

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opposing party affirmatively raises the issue of the defect. The burden is on the opposing

party to object to the improper evidence; failure to object constitutes a waiver.

       If a party fails to object before the district court to the affidavits or evidentiary
       materials submitted by the other party in support of its position on summary
       judgment, any objections to the district court’s consideration of such materials
       are deemed to have been waived, and [the Sixth Circuit] will review such
       objections only to avoid a gross miscarriage of justice.49

       As a general matter, the judge considering a motion for summary judgment is to

examine “[o]nly disputes over facts that might affect the outcome of the suit under governing

law.”50 The court will not consider non-material facts, nor will it weigh material evidence to

determine the truth of the matter.51 The judge’s sole function is to determine whether there

is a genuine factual issue for trial; this does not exist unless “there is sufficient evidence

favoring the nonmoving party for a jury to return a verdict for that party.”52

       In sum, proper summary judgment analysis entails:
       the threshold inquiry of determining whether there is the need for a trial--
       whether, in other words, there are any genuine factual issues that properly can
       be resolved only by a finder of fact because they may reasonably be resolved
       in favor of either party.

B.     Application of the standard

       The parties have submitted cross-motions for full or partial summary judgment. In

that context, all parties agree that resolution of the federal claims in these motions essentially


       49
            Id. at 226 (citations omitted).
       50
            Anderson, 477 U.S. at 248.
       51
            Id. at 249.
       52
            Id.

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turns on the single issue of whether the initial arrest was supported by probable cause.53 And

as Abdelhaaq observes, the state law claims - 6, 8 and 10 - also center on the purported lack

of probable cause,54 and so may also be adjudicated by resolution of that question. The

remaining issue - claim 11, asserting a state law claim that Officer Beno committed battery -

has not been raised by Abdelhaaq in his motion for summary judgment,55 and the defendants

contend it is now waived.56 Even if not waived, I decline to take jurisdiction over that single

remaining state law claim given resolution of all other claims against Abdelhaaq.

          To the question of probable cause, Lakewood and Beno assert that notwithstanding

an appellate decision overturning Abdelhaaq’s conviction in municipal court, the denial of

Abdelhaaq’s motion for acquittal in that court, together with his subsequent conviction by

a jury, establishes the existence of probable cause for the underlying arrest, except where the

conviction was obtained by fraud, perjury or other corrupt means.57 Abdelhaaq, for his part,

contends that his conviction was obtained by just such “corrupt means,” in that false

statements by Officer Bruno in his written complaint, police report of the incident, and

testimony at trial removed any presumption of probable cause for the arrest.58

          53
               See, ECF # 54 at 9, 14 (Defendants’s motion); ECF # 55 at 18.
          54
               ECF # 55 at 19-20.
          55
               See, id. at i.
          56
               ECF # 65 at 1-3.
          57
         ECF # 65 (defendants’s reply brief) at 6 (citing Harris v. Bornhorst, 513 F.3d 503, 520-21
  th
(6 Cir. 2008)(citations omitted)).
          58
               ECF # 62 at 10 (citing Bornhorst, 513 F.3d at 520-21).

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       Abdelhaaqs claim that Beno omitted crucial, exculpatory details from his police report

and then lied about the incident at trial.59 Abdelhaaq contends these misstatements “went to

the heart of the city’s case” and “were justifiably relied on by the jury, causing conviction.”60

Yet, Abdelhaaq also states that these “lies” can be established as falsehoods by just a

“cursory analysis” of the video tape of the incident.61 Indeed, Abdelhaaq maintains that his

video is “the unique arbiter of this dispute,” because the video tape “does not forget, is not

biased, and it presents a clear picture of what occurred ....”62

       There is no dispute that the jury that convicted Abdelhaaq viewed this video tape at

the trial.63 Accordingly, Abdelhaaq cannot claim that Officer Beno’s allegedly fraudulent

statements were the reason the “cause” of the jury’s decision to conviction but were also

easily proven false by even a cursory review of the video tape. Plainly, the same jury viewed

the tape and considered the statements of Officer Beno, and then ultimately decided to

convict Abdelhaaq.

       Thus, even though a divided panel of the Ohio appeals court subsequently reversed

Abdelhaaq’s conviction, the facts here do not show that the original conviction was obtained


       59
            ECF # 55 at 18-19.
       60
            Id. at 19.
       61
            Id. See also, id. at 8 (asserting that the video tape “prove[s] ... these material falsities
wrong”).
       62
            Id. at 10.
       63
         Lakewood v. Abdelhaaq, No. 100857, 2014 WL 5306781, at * 3 (Ohio App. 8th Dist. Oct.
16, 2014); see also, ECF # 61 at 5 (citing record).

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because the jury was somehow misled by Officer Beno’s statements. The jury, as noted, had

both the statements of Officer Beno and what Abdelhaaq himself maintains is the “unique”

“clear picture” of the incident, a “cursory” review of which, in Abdelhaaq’s own words,

effectively undercuts all of Officer Beno’s purported lies, misstatements and perjuries.

       As such, this is manifestly not similar to Bornhorst, the case cited by Abdelhaaq,

where a Brady violation arising from the prosecutor’s failure to supply potentially

exculpatory evidence to a defendant resulted in a “fraud upon the court” sufficient to trigger

the undue or unfair means exception to the rule that probable cause for a prosecution is

presumed in a matter ending in conviction. Here, the evidence Abdelhaaq contends is the

best evidence of Officer Beno’s purported errors was not in any way withheld from the jury

or unknown to it, but rather was shown to it.

       Accordingly, under these facts and as detailed above, I cannot conclude that

Abdelhaaq has set forth a basis for finding that his trial and conviction are exceptions to the

rule that his conviction, though later overturned, establishes that his original arrest and

subsequent prosecution were based on probable cause.

       Further, because there was probable cause for the arrest and later prosecution,

Abdelhaaq cannot maintain any of the federal claims asserted here, and also cannot maintain

all but count 11 of the state law claims, the single issue asserting battery by Officer Beno.

As noted above, that issue was not argued by Abdelhaaq in his brief supporting the motion




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for summary judgment and so is now waived.64 Alternatively, I decline supplemental

jurisdiction over that claim under 28 U.S.C. § 1367 (c)(3).

                                           Conclusion

         Therefore, for the reasons stated, the defendants’s motion for summary judgment65 is

granted in full, and Abdelhaaq’s motion is denied.66 Defendants’s motion to strike the report

and affidavit of Abdelhaaq’s expert67 is denied as moot.

         IT IS SO ORDERED.



Dated: May 2, 2018                                    s/ William H. Baughman, Jr.
                                                      United States Magistrate Judge




         64
              Abdulsalaam v. Franklin Cty. Board of Commr.’s, 637 F. Supp.2d 561, 578 (S.D. Ohio
2009).
         65
              ECF # 54.
         66
              ECF # 55.
         67
              ECF # 66.

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